                          UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                         DOCKET NO. 3:17-cr-00211-FDW-DCK


 UNITED STATES OF AMERICA,                     )
                                               )
        Plaintiffs,                            )
                                               )
 vs.                                           )
                                               )                      ORDER
 JOHNATHAN PIERRE CRAWFORD,                    )
                                               )
        Defendant.                             )
                                               )


       THIS MATTER is before the Court sua sponte following review of the pleadings on

Defendant’s Motion for Compassionate Release/Reduction of Sentence. The Court previously

directed the Government to respond to Defendant’s motion and inform the Court on Defendant’s

vaccination status. (Doc. No. 23). The Government’s response only provided information on

Defendant’s vaccination status and medical records. The Court hereby DIRECTS the Government

to supplement its response with any arguments and/or concessions on the merits of Defendant’s

motion no later than fourteen (14) days from the date of this Order. Defendant shall have up to

twenty-one (21) days after service of the Government’s supplemental response to submit a

supplemental brief containing any final arguments or evidence in support of his motion.

       IT IS SO ORDERED.

                                          Signed: November 4, 2021




       Case 3:17-cr-00211-FDW-DCK Document 30 Filed 11/05/21 Page 1 of 1
